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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA,
CARTIER INTERNATIONAL A.G.,                           Case No. 19-cv-07924
MONTBLANC-SIMPLO GMBH, CHLOE
S.A.S., VAN CLEEF & ARPELS SA, and
OFFICINE PANERAI A.G.,

               Plaintiffs,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.


                                         COMPLAINT

       Plaintiffs RICHEMONT INTERNATIONAL SA, CARTIER INTERNATIONAL A.G.,

MONTBLANC-SIMPLO GMBH, CHLOE S.A.S., VAN CLEEF & ARPELS SA, and

OFFICINE PANERAI A.G. (collectively, “Plaintiffs”) hereby bring the present action against

the Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and allege as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.
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        2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain

Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using infringing and

counterfeit versions of Plaintiffs’ respective trademarks. Each of the Defendants has targeted

sales from Illinois residents by operating online stores that offer shipping to the United States,

including Illinois, accept payment in U.S. dollars and, on information and belief, has sold

products using infringing and counterfeit versions of Plaintiffs’ respective trademarks to

residents of Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging in

interstate commerce, and has wrongfully caused Plaintiffs substantial injury in the State of

Illinois.

                                      II. INTRODUCTION

        3.     Plaintiffs are all subsidiaries of Compagnie Financière Richemont SA

(“Richemont”), which owns several of the world's leading companies in the field of luxury

goods, with particular strengths in jewelry, luxury watches and writing instruments. This action

has been filed by Plaintiffs to combat Internet Store operators who trade upon Plaintiffs’

respective reputations and goodwill by selling and/or offering for sale unauthorized and

unlicensed products using infringing and counterfeit versions of Plaintiffs’ trademarks (the

“Counterfeit Products”). The Defendants create the Defendant Internet Stores by the hundreds



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and design them to appear to be selling Plaintiffs’ genuine products, while actually selling

Counterfeit Products to unknowing consumers. The Defendant Internet Stores share unique

identifiers, such as design elements and similarities of the Counterfeit Products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ counterfeiting

operation arises out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid liability by going to great lengths to conceal both their identities and

the full scope and interworking of their counterfeiting operation. Plaintiffs are forced to file

these actions to combat Defendants’ counterfeiting of their respective registered trademarks, as

well as to protect unknowing consumers from purchasing Counterfeit Products over the Internet.

Plaintiffs have been and continue to be irreparably damaged through consumer confusion,

dilution, and tarnishment of their valuable trademarks as a result of Defendants’ actions and seek

injunctive and monetary relief.

                                       III. THE PARTIES

Plaintiffs

Plaintiff Cartier

       4.      Plaintiff CARTIER INTERNATIONAL A.G. is a corporation organized and

existing under the laws of Switzerland, having its principal place of business at Hinterbergstrasse

22, 6312 Steinhausen, Switzerland (“Cartier”). Cartier is a subsidiary of Richemont.

       5.      Cartier is one of the preeminent symbols of luxury in the world. Since at least as

early as 1847, Cartier and its predecessors-in-interest and associated companies have been using

the CARTIER trademark on and in connection with the advertising and sale of luxury products,

including, inter alia, watches, watch buckles, clocks, jewelry, scarves, handbags, eyewear, pens,

letter openers, perfumes, and cigarette lighters (collectively, the “CARTIER Products”).



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       6.      CARTIER Products are distributed and sold to consumers through over 300

Cartier boutiques, including one located at 630 N. Michigan Avenue in Chicago, Illinois, as well

as through thousands of authorized retailers worldwide. Cartier has for some time operated a

website where it promotes genuine CARTIER Products at cartier.us and cartier.com. More

recently, these websites have offered e-commerce of CARTIER Products via the cartier.us and

cartier.com websites. The cartier.us and cartier.com websites feature proprietary content, images

and designs exclusive to Cartier.

       7.      Cartier incorporates a variety of distinctive marks in the design of its various

CARTIER Products. As a result of its long-standing use, Cartier owns common law trademark

rights in its CARTIER trademarks. Cartier has also registered its trademarks with the United

States Patent and Trademark Office.      CARTIER Products typically include the CARTIER

registered trademark.   Cartier uses its trademarks in connection with the marketing of its

CARTIER Products, including the following marks which are collectively referred to as the

“CARTIER Trademarks.”

REGISTRATION            REGISTERED         REGISTRATION              INTERNATIONAL
  NUMBER                TRADEMARK               DATE                     CLASSES
  759,201                                  October 29,        For: Watches and clocks in class
                         CARTIER           1963               014.

    759,202                                October 29,        For: Articles of jewelry for
                                           1963               personal wear, not including
                                                              watches; and the following goods
                         CARTIER                              of solid or plated silverware-
                                                              namely, hollow-ware, jewelry
                                                              cases, and buckles in classes 008
                                                              and 014.

   4,988,729                               June 28, 2016      For: Sunglasses, eyeglass frames
                         CARTIER                              in class 009.

   1,005,286                               February 25,       For: Jewelry-namely, bracelets in
                    LOVE BRACELET
                                           1975               class 014.

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REGISTRATION       REGISTERED       REGISTRATION           INTERNATIONAL
  NUMBER           TRADEMARK             DATE                  CLASSES
  1,344,284         SANTOS          June 25, 1985   For: Watches in Class 014.

  411,975                           February 13,    For: Watches and clocks and
                                    1945            wrist watches with wrist straps
                                                    and bracelets attached for
                                                    securing the same on the wrist of
                                                    the wearer, and traveling clocks
                                                    and watches with covers of
                                                    leather, fabric and the like for
                                                    protecting them while traveling in
                                                    class 014.

  415,184                           July 31, 1945   For: Reading glasses in class
                                                    009.

  4,178,047                         July 24, 2012   For: Jewelry and watches in class
                                                    014.

  3,637,776                         June 16, 2009   For: Goods of precious metals
                                                    and coated therewith, namely,
                                                    cuff-links, rings, bracelets,
                                                    earrings, necklaces in class 014.

  1,114,482                         March 6, 1979   For: Articles of jewelry, watches
                                                    in class 014.




  1,372,423                         November 26,    For: Bracelets in class 014.
                                    1985


  3,162,410                         October 24,     For: Jewelry, namely, bracelets,
                                    2006            watches, rings, charms, earrings
                                                    in class 014.




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REGISTRATION              REGISTERED           REGISTRATION               INTERNATIONAL
  NUMBER                  TRADEMARK                 DATE                      CLASSES
  3,776,794                                    April 20, 2010    For: Jewelry, namely, rings,
                                                                 bracelets, charms, earrings, made
                                                                 of precious metals in class 014.


      5,583,979                                October 16,       For: Jewelry in class 014.
                                               2018




         8.       The CARTIER Trademarks have been used exclusively and continuously by

Cartier and its predecessors-in-interest and associated companies in the U.S., some since at least

as early as 1859, and have never been abandoned. The above registrations for the CARTIER

Trademarks are valid, subsisting, in full force and effect, and many are incontestable pursuant to

15 U.S.C. § 1065.        Attached hereto as Exhibit 1 are true and correct copies of the U.S.

Registration Certificates for the CARTIER Trademarks included in the above table.               The

registrations for the CARTIER Trademarks constitute prima facie evidence of their validity and

of Cartier’s exclusive right to use the CARTIER Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Montblanc

         9.       Plaintiff MONTBLANC-SIMPLO GMBH is a corporation organized and existing

under the laws of Germany, having its principal place of business at Hellgrundweg 100 22525

Hamburg, Germany (“Montblanc”). Montblanc is a subsidiary of Richemont.

         10.      Montblanc is an internationally recognized manufacturer, distributor and retailer

of high quality writing instruments, watches and other goods, all of which prominently display

its    famous,    internationally-recognized   and    federally-registered   trademarks,   including

MONTBLANC (collectively, the “MONTBLANC Products”).


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       11.      MONTBLANC Products are distributed and sold to consumers through a

worldwide network of Montblanc boutiques and other tightly-controlled distribution

partnerships.   In 2011, Montblanc established an e-commerce site in the United States at

montblanc.com. Montblanc also launched an e-commerce platform in Europe, covering France,

The United Kingdom, and Germany. Sales of MONTBLANC Products via the montblanc.com

website represent a significant portion of Montblanc’s business. The montblanc.com website

features proprietary content, images and designs exclusive to Montblanc.

       12.      Montblanc incorporates a variety of distinctive marks in the design of its various

MONTBLANC Products. As a result of its long-standing use, Montblanc owns common law

trademark rights in its MONTBLANC trademarks. Montblanc has also registered its trademarks

with the United States Patent and Trademark Office. MONTBLANC Products typically include

at least one of Montblanc’s registered trademarks. Montblanc uses its trademarks in connection

with the marketing of its MONTBLANC Products, including the following marks which are

collectively referred to as the “MONTBLANC Trademarks.”

REGISTRATION            REGISTERED           REGISTRATION          INTERNATIONAL
  NUMBER                TRADEMARK                DATE                  CLASSES
  776,208                                    September 1, For: Fountain pens, cases for
                                             1964         fountain pens, ball point pens,
                                                          ball point cartridges, ball point
                       MONTBLANC                          paste, mechanical pencils, lead
                                                          for mechanical pencils in class
                                                          016.

   1,825,001                                  March 8, 1994    For: Spectacles and sunglasses in
                       MONTBLANC                               class 009.

   1,884,842                                 March 21,         For: Jewelry, watches and
                                             1995              timepieces in class 014.
                       MONTBLANC
                                                               For: Purses, handbags, small
                                                               leather articles and accessories,
                                                               namely wallets and billfolds, and

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REGISTRATION       REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER           TRADEMARK            DATE                     CLASSES
                                                     luggage in class 018.

  2,415,189                           December 26,   For: clothing accessories, namely,
                                         2000        dress belts made of leather with
                                                     belt buckles of precious and semi-
                                                     precious metals distributed in
                  MONTBLANC
                                                     channels of commerce where
                                                     luxury articles are sold and
                                                     promoted in class 025.

  4,582,264                            August 12,    For: Retail store services in the
                                         2014        field of luxury goods in the nature
                                                     of watches, chronometers, luxury
                                                     writing instruments and parts and
                                                     fittings therefor, leather goods,
                                                     belts, jewelry, eyewear,
                                                     fragrances, stationery, stationery
                                                     refills, desk sets, personal care
                                                     products provided via the Internet
                                                     and other computer and electronic
                                                     communication networks in class
                                                     035.

                                                     For: Telecommunication services,
                                                     namely, routing of Internet
                                                     queries from end users to website
                                                     hosting providers; providing
                  MONTBLANC
                                                     access to an online computer
                                                     database in the field of domain
                                                     name registration information;
                                                     connection of Internet domains
                                                     and e-mail-addresses in computer
                                                     networks, namely, data
                                                     communication by electronic mail
                                                     in class 038.

                                                     For: Technical IT project
                                                     management services for
                                                     managing and tracking computer
                                                     network domain names in
                                                     connection with the registration
                                                     of domain names for
                                                     identification of users and
                                                     Internet protocol addresses on the

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REGISTRATION       REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER           TRADEMARK            DATE                       CLASSES
                                                     Internet; verification of identities
                                                     for the purpose of permitting or
                                                     denying access to information and
                                                     services in the nature of computer
                                                     security services, namely,
                                                     enabling or restricting access to
                                                     computer networks to authorized
                                                     users by means of a website
                                                     featuring technology that verifies
                                                     user identities; Internet Protocol
                                                     (IP) address verification in class
                                                     042.

                                                     For: Legal services, namely,
                                                     registration of domain names for
                                                     identification of users on a global
                                                     computer network; registration
                                                     services enabling entities to
                                                     manage information related to
                                                     domain names and e-mail
                                                     addresses for use on a global
                                                     computer network, namely,
                                                     issuing and registration of domain
                                                     names and e-mail addresses;
                                                     licensing of domain names; legal
                                                     services, namely, administration
                                                     of domain names and e-mail
                                                     addresses in class 045.

  2,759,073                           September 2,   For: Fountain pens, ball-point
                                          2003       pens, pencils, felt-tip pens,
                 STARWALKER
                                                     rollerballs in class 016.

  5,127,048                            January 24,   For: Leather and imitation
                                          2017       leather, goods made in these
                                                     materials and not included in
                                                     other classes, namely, leather
                                                     bags, leather pouches; handbags,
                 STARWALKER                          travelling bags, rucksacks, school
                                                     bags, traveling sets, namely,
                                                     leather luggage; bags for sports,
                                                     wheeled bags, wallets, purses,
                                                     credit card holders, briefcases,
                                                     suitcases, attaché-cases, key

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REGISTRATION       REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER           TRADEMARK            DATE                      CLASSES
                                                    holders, namely, key cases;
                                                    travelling trunks, vanity cases, not
                                                    fitted; evening purses, boxes of
                                                    leather or leather board in class
                                                    018.

  3,021,088                          November 29,   For: Watches, wristwatches,
                                     2005           chronometers, jewelry articles,
                                                    namely, earrings, rings, necklaces
                                                    in class 014.
                       4810                         For: Writing instruments, in
                                                    particular, fountain pens, in class
                                                    016.

  2,515,092                           December 4,   For: stationery, namely, writing
                                         2001       paper, writing cards in class 016.




  3,059,776                          February 21,   For: Money clips, key rings all
                                     2006           being made of metal in class 006.




  4,295,116                          February 26,   For: Retail store services
                                     2013           featuring watches, writing
                                                    instruments and parts and fittings
                                                    therefor, writing inks and refills
                                                    for writing instruments, leather
                                                    goods, belts, jewelry, eyewear,
                                                    fragrances, stationery, stationery
                                                    refills, desk sets; online retail
                                                    store services featuring watches,
                                                    writing instruments, writing inks
                                                    and refills for writing
                                                    instruments, leather goods, belts,
                                                    jewelry, eyewear, fragrances,
                                                    stationery, stationery refills in
                                                    class 035.




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REGISTRATION       REGISTERED        REGISTRATION          INTERNATIONAL
  NUMBER           TRADEMARK             DATE                  CLASSES
  4,669,133                           January 13, For: Soaps; perfumery; essential
                                         2015     oils; cosmetic preparations for
                                                  body and beauty care in class
                                                  003.

                                                     For: Eyeglasses, sunglasses;
                                                     eyeglass frames and cases;
                                                     magnifying glasses; computer and
                                                     tablets carrying cases and bags;
                                                     holders and cases for telephones,
                                                     portable telephones and
                                                     smartphones; accessories for
                                                     portable telephones, smartphones
                                                     and tablets, namely, cases, bags;
                                                     data recording and storage media
                                                     device and instruments, namely,
                                                     blank USB flash drive; graduated
                                                     rulers in class 009.

                                                     For: Jewelry; precious stones;
                                                     precious metals and their alloys;
                                                     cufflinks; tie clips; rings;
                                                     bracelets; earrings; necklaces;
                                                     brooches; key rings of precious
                                                     metal; jewelry cases; boxes of
                                                     precious metals; horological and
                                                     chronometric instruments;
                                                     watches; chronometers; clocks;
                                                     small clocks; watch cases; watch
                                                     bands; watch bracelets; key rings,
                                                     trinkets, or fobs of precious metal
                                                     in class 014.

                                                     For: Stationery; articles of paper
                                                     or cardboard, namely, boxes,
                                                     bags, envelopes and pouches for
                                                     packaging; wrapping paper;
                                                     writing instruments; pouches for
                                                     writing instruments; cases for
                                                     writing instruments; inks and ink
                                                     refills for writing instruments;
                                                     desk sets; writing books;
                                                     calendars, note books, card and
                                                     document files, announcement

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REGISTRATION       REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER           TRADEMARK            DATE                     CLASSES
                                                    cards; writing paper, envelopes,
                                                    index cards; business cards;
                                                    writing pads; writing instrument
                                                    holders; paperweights; diaries,
                                                    cover for diaries, replacement
                                                    papers for diaries; inkwells; check
                                                    book holders, passport holders;
                                                    document holders and cases;
                                                    photo albums; bookends; money
                                                    clips; writing cases for writing
                                                    instruments in class 016.

                                                    For: Handbags, travelling bags,
                                                    rucksacks, garment bags for
                                                    travel, traveling sets comprised of
                                                    luggage, suitcases, bags for
                                                    sports, wheeled bags, wallets,
                                                    purses, name cards cases,
                                                    briefcases, attaché cases, key
                                                    cases of leather or imitation
                                                    leather; travelling trunks; unfitted
                                                    vanity cases; evening purses;
                                                    leather straps; boxes of leather or
                                                    leather board, trunks and
                                                    suitcases; credit card holder in
                                                    class 018.

  1,324,392                          March 12,      For: Fountain pens, ballpoint
                                     1985           pens and mechanical pencils
                                                    including sets thereof, all made
                                                    partially with precious metals and
                                                    sold in specialty stores in class
                                                    016.

  2,747,460                            August 05,   For: Jewelry, cuff-links, and tie
                                         2003       bars in class 014.




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REGISTRATION           REGISTERED           REGISTRATION        INTERNATIONAL
  NUMBER               TRADEMARK                DATE                CLASSES
  839,016                                   November 21, For: Fountain pen ink in class
                                            1967         002.

                                                              For: Fountain pens, cases for
                                                              fountain pens, ball point pens,
                                                              ball point cartridges, mechanical
                                                              pencils, lead for mechanical
                                                              pencils, desk stands for pens in
                                                              class 016.

   1,878,584                                February 14,      For: Jewelry, watches and
                                            1995              timepieces in class 014.

                                                              For: Purses, handbags, small
                                                              leather articles and accessories,
                                                              namely wallets and billfolds, and
                                                              luggage in class 018.


       13.     The MONTBLANC Trademarks have been used exclusively and continuously by

Montblanc in the U.S., some since at least as early as 1913, and have never been abandoned.

The above registrations for the MONTBLANC Trademarks are valid, subsisting, in full force

and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit

2 are true and correct copies of the U.S. Registration Certificates for the MONTBLANC

Trademarks included in the above table. The registrations for the MONTBLANC Trademarks

constitute prima facie evidence of their validity and of Montblanc’s exclusive right to use the

MONTBLANC Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Chloe

       14.     Plaintiff CHLOE S.A.S. is a corporation organized and existing under the laws of

France, having its principal place of business at 5-7 Av. Percier 75008 Paris, France (“Chloe”).

Chloe is a subsidiary of Richemont.




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       15.      Chloe is an internationally recognized manufacturer, distributor and retailer of

high-quality fashion apparel, jewelry, handbags, and other accessories and related goods, all of

which prominently display its famous, internationally-recognized and federally-registered

trademarks, including CHLOE (collectively, the “CHLOE Products”). CHLOE Products have

become enormously popular and even iconic, driven by Chloe’s arduous quality standards and

innovative design.    Among the purchasing public, genuine CHLOE Products are instantly

recognizable as such. In the United States and around the world, the Chloe brand has come to

symbolize high quality, and CHLOE Products are among the most recognizable luxury products

in the world.

       16.      CHLOE Products are distributed and sold to consumers through a worldwide

network of select authorized Chloe online retailers, dealers, boutiques, and at finer department

stores such as Bergdorf Goodman, Bloomingdale’s, Nordstrom, Barneys New York, and Saks

Fifth Avenue. Chloe also promotes the CHLOE Products online at chloe.com. The chloe.com

website features proprietary content, images and designs exclusive to Chloe.

       17.      Chloe incorporates a variety of distinctive marks in the design of its various

CHLOE Products. As a result of its long-standing use, Chloe owns common law trademark

rights in its CHLOE trademarks. Chloe has also registered its trademarks with the United States

Patent and Trademark Office.      CHLOE Products typically include at least one of Chloe’s

registered trademarks. Chloe uses its trademarks in connection with the marketing of its CHLOE

Products, including the following marks which are collectively referred to as the “CHLOE

Trademarks.”

REGISTRATION          REGISTERED          REGISTRATION                INTERNATIONAL
  NUMBER              TRADEMARK                DATE                       CLASSES
  1,491,810                                June 14, 1988    For: Perfume toilet water, cologne,
                         CHLOE
                                                            body lotion, body cream, personal

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REGISTRATION      REGISTERED        REGISTRATION                INTERNATIONAL
  NUMBER          TRADEMARK            DATE                        CLASSES
                                                     deodorant, and beauty or bath soap
                                                     in class 003.

                                                     For: Handbags, and purses in class
                                                     018.

                                                     For: Bathrobes, bathing suits, coats,
                                                     dresses, hats, jackets, shirts, blouses,
                                                     trousers, skirts, scarves, and shoes in
                                                     class 025.
  1,925,176                           October 10,    For: Sunglasses, cases and
                                         1995        containers for such sunglasses in
                     CHLOE
                                                     class 009.

  2,745,487                          April 5, 2003   For: Jewelry in class 014.
                     CHLOE
  3,198,388                           January 16,    For: Optical apparatus and
                                         2007        instruments, namely, spectacles,
                                                     sunglasses, eyeglasses, eye shades,
                     CHLOE                           and frames, earpieces, lenses, cords,
                                                     chains, cases and containers
                                                     therefore in class 009.

  2,641,982                           October 29,    For: Travelling bags, holdalls, tote
                                         2002        bags, handbags, credit card case,
                                                     purses, wallets, key cases, coin
                                                     purses, parts and fittings for all the
                                                     aforesaid goods in class 018.
                 SEE BY CHLOE
                                                     For: Clothing, namely, trousers,
                                                     skirts, suits, dresses, jackets,
                                                     blousons, shirts, coats, cardigans,
                                                     sweaters, blouses, shorts, t-shirts,
                                                     pullovers, and scarves in class 025.
  4,853,384                          November 17,    For: Wallets, coin purses, handbags,
                                        2015         card cases, namely, business card
                                                     cases, calling card cases, and name
                                                     card cases; key cases, backpacks,
                     DREW                            clutch bags, beach bags; shopping
                                                     bags, namely, canvas shopping bags,
                                                     and leather shopping bags in class
                                                     018.



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REGISTRATION         REGISTERED           REGISTRATION                 INTERNATIONAL
  NUMBER             TRADEMARK                DATE                         CLASSES
  950,843                                  January 16,      For: Ladies' articles of clothing for
                                              1973          outerwear-namely, frocks, dresses,
                                                            coats, costumes, suits, skirts,
                                                            blouses, vests and pant-suits, vests,
                                                            and ladies' shoes in classes 010, 025,
                                                            026.

  3,921,204                                February 15,     For: Perfumery, perfumes in class
                                              2011          003.




       18.    The CHLOE Trademarks have been used exclusively and continuously by Chloe

in the U.S., some since at least as early as 1973, and have never been abandoned. The above

registrations for the CHLOE Trademarks are valid, subsisting, in full force and effect, and many

are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 3 are true and

correct copies of the U.S. Registration Certificates for the CHLOE Trademarks included in the

above table. The registrations for the CHLOE Trademarks constitute prima facie evidence of

their validity and of Chloe’s exclusive right to use the CHLOE Trademarks pursuant to 15

U.S.C. § 1057(b).

Plaintiff Van Cleef & Arpels

       19.    Plaintiff Van Cleef & Arpels, S.A. is a corporation organized and existing under

the laws of Switzerland, having its principal place of business at 8 Route des Biches, 1752

Villars-sur-Glane, Switzerland (“Van Cleef & Arpels”). Van Cleef & Arpels is a subsidiary of

Richemont.

       20.    Established in France in 1906, Van Cleef & Arpels and its predecessors-in-

interest and associated companies have been doing business under the VAN CLEEF &

ARPELS name and mark for more than 100 years. Since its inception, Van Cleef & Arpels has


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been known for its innovative, highly artistic and high-quality luxury jewelry and timepieces

(the “VAN CLEEF & ARPELS Products”).

       21.     The VAN CLEEF & ARPELS Products are sold through more than 100 Van Cleef

& Arpels points of sale, including one located at 933 North Michigan Avenue in Chicago,

Illinois, and through a network of authorized retailers worldwide. VAN CLEEF & ARPELS

Products are also promoted and sold online at vancleefarpels.com. The vancleefarpels.com website

features proprietary content, images and designs exclusive to Van Cleef & Arpels.

       22.      Van Cleef & Arpels incorporates a variety of distinctive marks in the design of

its various VAN CLEEF & ARPELS Products. VAN CLEEF & ARPELS Products typically

include at least one of the Van Cleef & Arpels registered trademarks. Van Cleef & Arpels uses

its trademarks in connection with the marketing of its VAN CLEEF & ARPELS Products,

including the following marks which are collectively referred to as the “VAN CLEEF &

ARPELS Trademarks.”

REGISTRATION             REGISTERED              REGISTRATION           INTERNATIONAL
  NUMBER                 TRADEMARK                    DATE                  CLASSES
  2,936,247                                      Mar. 29, 2005     For: Items made of
                                                                   precious metal, namely,
                                                                   rings, bracelets, earrings,
                                                                   necklaces, pendants,
                                                                   charms, brooches, clips,
                                                                   hairclips, jewelry boxes,
                                                                   jewelry cases, watch
                   VAN CLEEF & ARPELS                              bracelets and buckles;
                                                                   jewelry, watches and
                                                                   clocks in class 014.

                                                                   For: Retail shops
                                                                   featuring jewelry and
                                                                   watches in Class 035.

   2,751,878                                     Aug. 19, 2003     For: Precious metal and
                         ALHAMBRA                                  their alloys and products
                                                                   made thereof or coated

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REGISTRATION         REGISTERED             REGISTRATION        INTERNATIONAL
  NUMBER             TRADEMARK                 DATE                 CLASSES
                                                           therewith not included in
                                                           other classes, namely,
                                                           jewelry, horological and
                                                           chronometric instruments,
                                                           namely, watches and
                                                           watch bracelets and
                                                           necklaces, jewelry chains
                                                           of precious metal,
                                                           earrings, jewelry rings,
                                                           pendants, ankle bracelets,
                                                           cuff links, studs made of
                                                           precious metal in class
                                                           014.

  3,489,019                              Aug. 19, 2008     For: jewelry; clock and
                                                           watch making, namely,
                     ALHAMBRA
                                                           watches, watch bracelets
                                                           in class 014.
  1,415,794                              Nov. 04, 1986     For: Jewelry and watches
                                                           in class 014.

  1,584,572                              Feb. 27, 1990     For: Jewelry in class 014.

  2,692,672                              Mar. 04, 2003     For: Jewelry; watches; in
                                                           class 014.




  4,653,258                              Dec. 09, 2014     For: Jewelry in class 014.

                                                           For: Retail store services
                                                           featuring jewelry in Class
                                                           035.


  4,326,883                              Apr. 30, 2013     For: Jewelry in class 014.




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REGISTRATION              REGISTERED              REGISTRATION             INTERNATIONAL
  NUMBER                  TRADEMARK                    DATE                    CLASSES
  4,763,030                                       June 30, 2015       For: Jewelry; rings;
                                                                      pendants; earrings;
                                                                      necklaces; bracelets in
                                                                      class 014.




   5,029,940                                      August 30,          For: watches in class
                                                  2016                014.




       23.     Van Cleef & Arpels is the owner of the entire right, title and interest in and to the

VAN CLEEF & ARPELS Trademarks. The VAN CLEEF & ARPELS Trademarks have been

used exclusively and continuously by Van Cleef & Arpels in the U.S., some since at least as

early as 1939, and have never been abandoned. The above registrations for the VAN CLEEF &

ARPELS Trademarks are valid, subsisting, in full force and effect, and many are incontestable

pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 4 are true and correct copies of the

U.S. Registration Certificates for the VAN CLEEF & ARPELS Trademarks included in the

above table. The registrations for the VAN CLEEF & ARPELS Trademarks constitute prima

facie evidence of their validity and of Van Cleef & Arpels’ exclusive right to use the VAN

CLEEF & ARPELS Trademarks pursuant to 15 U.S.C. § 1057(b).




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Plaintiff Panerai

       24.     Plaintiff OFFICINE PANERAI A.G. is a corporation organized and existing

under the laws of Switzerland, having its principal place of business at Hinterbergstrasse 22,

6312 Steinhausen, Switzerland (“Panerai”). Panerai is a subsidiary of Richemont.

       25.     Panerai is an internationally recognized manufacturer, distributor and retailer of

high precision watches and professional divers’ instruments, all of which prominently display its

famous, internationally-recognized and federally-registered trademarks, including PANERAI

(collectively, the “PANERAI Products”). PANERAI Products have become enormously popular

and even iconic, driven by Panerai’s arduous quality standards and innovative design. Among

the purchasing public, genuine PANERAI Products are instantly recognizable as such. In the

United States and around the world, the Panerai brand has come to symbolize high quality, and

PANERAI Products are among the most recognizable watches in the world.

       26.     PANERAI Products are distributed and sold to consumers through boutiques and

a highly selective worldwide network of authorized Panerai dealers, such as Tourneau located at

835 North Michigan Avenue in Chicago, Illinois. Panerai also promotes its distinctive designs

and the PANERAI trademarks on its official website at panerai.com. The panerai.com website

features proprietary content, images and designs exclusive to Panerai.

       27.     Panerai incorporates a variety of distinctive marks in the design of its various

PANERAI Products. As a result of its long-standing use, Panerai owns common law trademark

rights in its PANERAI trademarks. Panerai has also registered its trademarks with the United

States Patent and Trademark Office. PANERAI Products typically include at least one of

Panerai’s registered trademarks. Panerai uses its trademarks in connection with the marketing of




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its PANERAI Products, including the following marks which are collectively referred to as the

“PANERAI Trademarks.”

REGISTRATION          REGISTERED           REGISTRATION              INTERNATIONAL
  NUMBER              TRADEMARK                DATE                     CLASSES
  2,340,290                                April 11, 2000    For: Chronometers, watches in
                        PANERAI                              class 014.

   2,418,830                               January 9, 2001   For: Chronometers; watches and
                       RADIOMIR                              clocks in class 014.

   2,516,018                                December 11,     For: Chronometers, watches and
                       LUMINOR                 2001          clocks in class 014.

   3,882,739          RADIOMIR              November 30,     For: Watches, watch straps,
                      COMPOSITE                2010          watch bracelets in class 014.

   3,889,408                                December 14,     For: Watches, watch straps,
                       LUMINOR                 2010          watch bracelets, boxes of
                      COMPOSITE                              precious metals for watches in
                                                             class 014.

   4,009,035                               August 9, 2011    For: Watches and clocks; watch
                                                             accessories, namely, watch straps,
                  OFFICINE PANERAI                           and buckles for watch bands and
                                                             watch straps in class 014.

   3,004,529                               October 4, 2005   For: Boxes and cases for
                                                             watches; chronometers, watches
                                                             in class 014.




       28.     The PANERAI Trademarks have been used exclusively and continuously by

Panerai and/or its predecessors-in-interest and associated companies in the U.S., some since at

least as early as 2000, and have never been abandoned.        The above registrations for the

PANERAI Trademarks are valid, subsisting, in full force and effect, and many are incontestable

pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 5 are true and correct copies of the

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U.S. Registration Certificates for the PANERAI Trademarks included in the above table. The

registrations for the PANERAI Trademarks constitute prima facie evidence of their validity and

of Panerai’s exclusive right to use the PANERAI Trademarks pursuant to 15 U.S.C. § 1057(b).

Plaintiff Richemont International S.A.

        29.     Plaintiff RICHEMONT INTERNATIONAL S.A. is a corporation organized and

existing under the laws of Switzerland, having its principal place of business at 10 Route des

Biches, 1752 Villars-sur-Glane, Switzerland (“Richemont International S.A.”).         Richemont

International S.A. is a subsidiary of Richemont.

        30.     Richemont International S.A.’s Maisons or house brands include several of the

most prestigious names in the luxury timepiece and jewelry industry: IWC Schaffhausen, Piaget,

Baume & Mercier, Jaeger-LeCoultre, and Vacheron Constantin.

Maison IWC

        31.     IWC was established nearly 150 years ago in Schaffhausen, Switzerland by the

American Florentine Ariosto Jones, a watchmaker from Boston, Massachusetts. His initial aim:

to produce high-quality pocket watches for the American market.      Since then, the IWC Swiss

watch manufacturers have been creating masterpieces of haute horlogerie that combine precision

engineering with exclusive design (“IWC Products”). IWC was acquired by Richemont

International S.A. in 2000.

        32.     IWC Products are sold worldwide at fine jewelers and department stores, including

Torneau located at 835 N. Michigan Avenue in Chicago. IWC Products are also promoted online

at iwc.com. The iwc.com website features proprietary content, images and designs exclusive to

IWC and Richemont International S.A.




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       33.     IWC incorporates a variety of distinctive marks in the design of its various IWC

Products. IWC Products typically include at least one IWC registered trademark. IWC uses its

trademarks in connection with the marketing of its IWC Products, including the following marks

which are collectively referred to as the “IWC Trademarks.”

REGISTRATION            REGISTERED            REGISTRATION          INTERNATIONAL
  NUMBER                TRADEMARK                 DATE                  CLASSES
  1,205,403                                   August 17, 1982 For: Watches in class 014.
                             IWC
   3,507,947                                  September 30,        For: Watches and chronographs
                   IWC PORTUGIESER
                                              2008                 in class 014.

   2,516,587                                  December 11,         For: Watches and chronometers
                                              2001                 and parts for all of these goods
                                                                   in class 014.



       34.     Richemont International S.A. is the owner of the entire right, title and interest in and

to the IWC Trademarks. The IWC Trademarks have been used exclusively and continuously by

IWC in the U.S., some since at least as early as 1901, and have never been abandoned. The

above registrations for the IWC Trademarks are valid, subsisting, in full force and effect, and all

are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 6 are true and

correct copies of the U.S. Registration Certificates for the IWC Trademarks included in the

above table. The registrations for the IWC Trademarks constitute prima facie evidence of their

validity and of Richemont International S.A.’s exclusive right to use the IWC Trademarks

pursuant to 15 U.S.C. § 1057(b).

Maison Piaget

       35.     The Piaget brand was established in Switzerland in 1874 and is well-known as a

master of ultra-thin watch movement construction. Part of Richemont International S.A. since

1988, Piaget also has an established reputation in the jewelry field. Since the Piaget Maison was


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established, Piaget has sold and distributed watches, watch parts and watch movements, clocks,

chronometers, jewelry and other luxury goods (the “PIAGET Products”).

       36.     PIAGET Products are sold in Piaget boutiques and through other authorized

retailers, including Trabert & Hoeffer in Chicago, Illinois. Since at least as early as 1997, Piaget

has operated a website where it promotes and sells genuine PIAGET Products at piaget.com.

The piaget.com website features proprietary content, images and designs exclusive to Piaget and

Richemont International S.A.

       37.     Piaget incorporates a variety of distinctive marks in the design of its various

PIAGET Products. PIAGET Products typically include at least one Piaget registered trademark.

Piaget uses its trademarks in connection with the marketing of its PIAGET Products, including

the following marks which are collectively referred to as the “PIAGET Trademarks.”

 REGISTRATION             REGISTERED                 REGISTRATION           INTERNATIONAL
   NUMBER                 TRADEMARK                      DATE                   CLASSES
   679,984                                            June 6, 1959     For: complete watches in
                             PIAGET
                                                                       class 014.
     742,354                                         Dec. 18, 1962     For: Watches, watch parts
                                                                       and watch movements in
                                                                       Class 014.


       38.     Richemont International S.A. is the owner of the entire right, title and interest in

and to the PIAGET Trademarks. The PIAGET Trademarks have been used exclusively and

continuously by Piaget in the U.S., some since at least as early as 1959, and have never been

abandoned. The above registrations for the PIAGET Trademarks are valid, subsisting, in full

force and effect, and all are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as

Exhibit 7 are true and correct copies of the U.S. Registration Certificates for the PIAGET

Trademarks included in the above table.         The registrations for the PIAGET Trademarks



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constitute prima facie evidence of their validity and of Richemont International S.A.’s exclusive

right to use the PIAGET Trademarks pursuant to 15 U.S.C. § 1057(b).

Maison Baume & Mercier

       39.     For many decades, Baume & Mercier and its predecessors-in-interest have been

engaged in the manufacture and sale of watches, watch cases, watch movements, clocks,

chronometers, and related goods (the “BAUME & MERCIER Products”).

       40.     The Baume & Mercier Maison, first established in 1830 as Baume, has received

numerous accolades throughout its history. Part of Richemont International S.A. since 1988, the

Baume & Mercier brand’s reputation for quality and style continues to this day.

       41.     BAUME & MERCIER Products are sold at fine jewelers and department stores,

including Torneau located at 835 N. Michigan Avenue and Marshall Pierce & Co. located at 29

E. Madison Street in Chicago, Illinois. Since at least as early as 1995, Baume & Mercier has

operated a website where it promotes genuine BAUME & MERCIER Products at baume-et-

mercier.com.   The baume-et-mercier.com website features proprietary content, images and

designs exclusive to Baume & Mercier and Richemont International S.A.

       42.     Baume & Mercier incorporates a variety of distinctive marks in the design of its

various BAUME & MERCIER Products. BAUME & MERCIER Products typically include at

least one Baume & Mercier registered trademark. Baume & Mercier uses its trademarks in

connection with the marketing of its BAUME & MERCIER Products, including the following

mark which is referred to as the “BAUME & MERCIER Trademark.”

REGISTRATION           REGISTERED           REGISTRATION               INTERNATIONAL
  NUMBER               TRADEMARK                DATE                       CLASSES
  4,501,824                                 March 25, 2014    For: Watches, chronometers,
                                                              clocks, watch straps, watch
                  BAUME & MERCIER
                                                              bracelets, and boxes of precious
                                                              metals for watches in class 014.


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       43.     Richemont International S.A. is the owner of the entire right, title and interest in

and to the BAUME & MERCIER Trademark. The BAUME & MERCIER Trademark has been

used exclusively and continuously by Baume & Mercier in the U.S., since at least as early as

1946, and has never been abandoned. The above registration for the BAUME & MERCIER

Trademark is valid, subsisting, and in full force and effect. Attached hereto as Exhibit 8 is a true

and correct copy of the U.S. Registration Certificate for the BAUME & MERCIER Trademark

included in the above table.      The registration for the BAUME & MERCIER Trademark

constitutes prima facie evidence of its validity and of Richemont International S.A.’s exclusive

right to use the BAUME & MERCIER Trademark pursuant to 15 U.S.C. § 1057(b).

Maison Jaeger-LeCoultre

       44.     Since its founding in 1833, Jaeger-LeCoultre has been at the forefront of

invention and innovation in fine watchmaking and is now part of Richemont International S.A.

Jaeger-LeCoultre sells and distributes watches and clocks (the “JAEGER-LECOULTRE

Products”) and has obtained hundreds of patents.

       45.     JAEGER-LECOULTRE Products are sold via Jaeger-LeCoultre boutiques and

fine jewelers, including Marshall Pierce & Co., Torneau, and Trabert & Hoeffer in Chicago,

Illinois. Since at least as early as 2000, Jaeger-LeCoultre has operated a website where it

promotes and sells genuine JAEGER-LECOULTRE Products at jaeger-lecoultre.com.                   The

jaeger-lecoultre.com website features proprietary content, images and designs exclusive to

Jaeger-LeCoultre and Richemont International S.A.

       46.     Jaeger-LeCoultre incorporates a variety of distinctive marks in the design of its

various JAEGER-LECOULTRE Products. JAEGER-LECOULTRE Products typically include

at least one Jaeger-LeCoultre registered trademark. Jaeger-LeCoultre uses its trademarks in



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 connection with the marketing of its JAEGER-LECOULTRE Products, including the following

 marks which are collectively referred to as the “JAEGER-LECOULTRE Trademarks.”

REGISTRATION            REGISTERED            REGISTRATION                INTERNATIONAL
  NUMBER                TRADEMARK                 DATE                        CLASSES
  1,339,139                                    June 4, 1985      For: Watches and clocks except
                                                                 dashboard clocks for land vehicles,
                  JAEGER-LECOULTRE
                                                                 boats and planes in class 014.

  1,402,084                                    July 22, 1986     For: Watches and clocks except
                                                                 dashboard clocks for land vehicles,
                                                                 boats and planes in class 014.

        47.     Richemont International S.A. is the owner of the entire right, title and interest in

 and to the JAEGER-LECOULTRE Trademarks. The JAEGER-LECOULTRE Trademarks have

 been used exclusively and continuously by Jaeger-LeCoultre in the U.S., some since at least as

 early as 1968, and have never been abandoned. The above registrations for the JAEGER-

 LECOULTRE Trademarks are valid, subsisting, in full force and effect, and both are

 incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 9 are true and correct

 copies of the U.S. Registration Certificates for the JAEGER-LECOULTRE Trademarks included

 in the above table. The registrations for the JAEGER-LECOULTRE Trademarks constitute

 prima facie evidence of their validity and of Richemont International S.A.’s exclusive right to

 use the JAEGER-LECOULTRE Trademarks pursuant to 15 U.S.C. § 1057(b).

 Maison Vacheron Constantin

        48.     Since its founding in 1755, Vacheron Constantin has been involved in the sale

 and distribution of watches, chronometers, clocks, jewelry, and related goods (the

 “VACHERON CONSTANTIN Products”). Vacheron Constantin became part of Richemont

 International S.A. in 1996.



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       49.      VACHERON CONSTANTIN Products are sold through Vacheron Constantin

boutiques and a network of authorized retailers, including Trabert & Hoeffer in Chicago, Illinois.

VACHERON CONSTANTIN Products are also promoted online at vacheron-constantin.com.

The vacheron-constantin.com website features proprietary content, images and designs exclusive

to Vacheron Constantin and Richemont International S.A.

       50.      Vacheron Constantin incorporates a variety of distinctive marks in the design of

its various VACHERON CONSTANTIN Products. VACHERON CONSTANTIN Products

typically include at least one of the Vacheron Constantin registered trademarks. Vacheron

Constantin uses its trademarks in connection with the marketing of its VACHERON

CONSTANTIN Products, including the following marks which are collectively referred to as the

“VACHERON CONSTANTIN Trademarks.”

 REGISTRATION               REGISTERED                 REGISTRATION             INTERNATIONAL
   NUMBER                   TRADEMARK                       DATE                    CLASSES
   3,114,414                                            July 11, 2006      For: Cuff links, watches,
                                                                           chronometers, clocks,
                                                                           watchstraps, cases of
                                                                           precious metal for watches
                                                                           and jewellery in class 014.
    4,564,316                                           July 8, 2014       For: Watches and
                                                                           chronometers in class 014.



       51.      Richemont International S.A. is the owner of the entire right, title and interest in and

to the VACHERON CONSTANTIN Trademarks.                         The VACHERON CONSTANTIN

Trademarks have been used exclusively and continuously by Vacheron Constantin in the U.S.

since at least as early as 2006 and have never been abandoned. The above registrations for the

VACHERON CONSTANTIN Trademarks are valid, subsisting, in full force and effect, and

some are incontestable pursuant to 15 U.S.C. § 1065. Attached hereto as Exhibit 10 are true and

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correct copies of the U.S. Registration Certificates for the VACHERON CONSTANTIN

Trademarks included in the above table. The registrations for the VACHERON CONSTANTIN

Trademarks constitute prima facie evidence of their validity and of Richemont International

S.A.’s exclusive right to use the VACHERON CONSTANTIN Trademarks pursuant to 15

U.S.C. § 1057(b).

Plaintiffs’ Trademarks and Plaintiffs’ Products

       52.     The CARTIER Trademarks, MONTBLANC Trademarks, CHLOE Trademarks,

VAN CLEEF & ARPELS Trademarks, PANERAI Trademarks, IWC Trademarks, PIAGET

Trademarks, BAUME & MERCIER Trademark, JAEGER-LECOULTRE Trademarks, and

VACHERON CONSTANTIN Trademarks are collectively referred to herein as “Plaintiffs’

Trademarks.”

       53.     The CARTIER Products, MONTBLANC Products, CHLOE Products, VAN

CLEEF & ARPELS Products, PANERAI Products, IWC Products, PIAGET Products, BAUME

& MERCIER Products, JAEGER-LECOULTRE Products, and VACHERON CONSTANTIN

Products are collectively referred to herein as “Plaintiffs’ Products.”

       54.     Plaintiffs’ Trademarks are exclusive to Plaintiffs, and are displayed extensively

on Plaintiffs’ Products and in Plaintiffs’ marketing and promotional materials.        Plaintiffs’

Products have long been among the most popular luxury products in the world and have been

extensively promoted and advertised at great expense. In fact, Plaintiffs have expended millions

of dollars annually in advertising, promoting and marketing featuring their respective Plaintiffs’

Trademarks. Plaintiffs’ Products have also been the subject of extensive unsolicited publicity

resulting from their high-quality, innovative designs and renown as desired luxury items.




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Because of these and other factors, Plaintiffs’ respective brands and many of Plaintiffs’

Trademarks have become famous.

       55.     Plaintiffs’ Trademarks are distinctive when applied to Plaintiffs’ Products,

signifying to the purchaser that the products come from Plaintiffs and are manufactured to

Plaintiffs’ quality standards. Whether Plaintiffs manufacture the products themselves or license

others to do so, Plaintiffs have ensured that products bearing their trademarks are manufactured

to the highest quality standards. Many of Plaintiffs’ Trademarks have achieved tremendous fame

and recognition, which has only added to the inherent or acquired distinctiveness of their

respective marks. As such, the goodwill associated with Plaintiffs’ Trademarks is of incalculable

and inestimable value to Plaintiffs.

       56.     Plaintiffs have expended substantial time, money, and other resources in

developing, advertising and otherwise promoting Plaintiffs’ Trademarks. As a result, Plaintiffs’

Products bearing Plaintiffs’ Trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being high-quality products sourced from Plaintiffs.

Each Plaintiff runs a multi-million dollar operation, and Plaintiffs’ Products have become among

the most popular of their kind in the world.

The Defendants

       57.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and



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continues to sell Counterfeit Products to consumers within the United States, including the State

of Illinois.

        58.    On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using infringing and counterfeit versions of Plaintiffs’ Trademarks in the

same transaction, occurrence, or series of transactions or occurrences.          Tactics used by

Defendants to conceal their identities and the full scope of their counterfeiting operation make it

virtually impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking

of their counterfeit network.      In the event that Defendants provide additional credible

information regarding their identities, Plaintiffs will take appropriate steps to amend the

Complaint.

                       IV. DEFENDANTS’ UNLAWFUL CONDUCT

        59.    The overwhelming success of Plaintiffs’ respective brands has resulted in their

 significant counterfeiting.   Consequently, Plaintiffs have a worldwide anti-counterfeiting

 program and regularly investigate suspicious websites and online marketplace listings identified

 in proactive Internet sweeps and reported by consumers.         In recent years, Plaintiffs have

 identified thousands of domain names linked to fully interactive websites and marketplace

 listings on platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and

 Dhgate, including the Defendant Internet Stores, which were offering for sale and selling

 Counterfeit Products to consumers in this Judicial District and throughout the United States.

 Despite Plaintiffs’ enforcement efforts, Defendants have persisted in creating the Defendant

 Internet Stores. E-commerce sales, including through Internet stores like those of Defendants,

 have resulted in a sharp increase in the shipment of unauthorized products into the United



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States. Exhibit 11, Excerpts from Fiscal Year 2018 U.S. Customs and Border Protection

(“CBP”) Intellectual Property Seizure Statistics Report. Over 90% of all CBP intellectual

property seizures were smaller international mail and express shipments (as opposed to large

shipping containers). Id. Over 85% of CBP seizures originated from mainland China and Hong

Kong. Id. Counterfeit and pirated products account for billions in economic losses, resulting in

tens of thousands of lost jobs for legitimate businesses and broader economic losses, including

lost tax revenue.

       60.     Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Alipay, Amazon Pay, Western Union, and/or PayPal. The Defendant Internet Stores

often include content and design elements that make it very difficult for consumers to distinguish

such counterfeit sites from an authorized website. Many Defendants further perpetuate the

illusion of legitimacy by offering customer service and using indicia of authenticity and security

that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos. Plaintiffs have not licensed or authorized Defendants to

use any of the Plaintiffs’ Trademarks, and none of the Defendants are authorized retailers of

genuine Plaintiffs’ Products.

       61.     Many Defendants also deceive unknowing consumers by using Plaintiffs’

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Plaintiffs’ Products.         Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media



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spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine Plaintiffs’ Products.          Other

Defendants only show Plaintiffs’ Trademarks in product images while using strategic item titles

and descriptions that will trigger their listings when consumers are searching for Plaintiffs’

Products.

       62.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal

their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.

       63.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.          For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Products for sale in the Defendant

Internet Stores bear similar irregularities and indicia of being counterfeit to one another,

suggesting that the Counterfeit Products were manufactured by and come from a common source

and that Defendants are interrelated. The Defendant Internet Stores also include other notable



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common features, including use of the same domain name registration patterns, shopping cart

platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,

similar hosting services, similar name servers, and the use of the same text and images.

       64.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.

       65.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts.      On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to off-shore bank

accounts outside the jurisdiction of this Court.




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       66.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use Plaintiffs’ Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Products into the United

States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the United

States, including Illinois, and, on information and belief, each Defendant has sold Counterfeit

Products into the United States, including Illinois.

       67.     Defendants’ use of Plaintiffs’ Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit Products, including the sale of Counterfeit

Products into the United States, including Illinois, is likely to cause and has caused confusion,

mistake, and deception by and among consumers and is irreparably harming Plaintiffs.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       68.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 67.

       69.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiffs’

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. Plaintiffs’ Trademarks are highly distinctive marks. Consumers have come to

expect the highest quality from Plaintiffs’ Products offered, sold or marketed under Plaintiffs’

Trademarks.

       70.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of Plaintiffs’ Trademarks without Plaintiffs’ permission.




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       71.     Plaintiffs are the exclusive owners of their respective Plaintiffs’ Trademarks.

Plaintiffs’ United States Registrations for their respective Plaintiffs’ Trademarks (Exhibits 1-10)

are in full force and effect. Upon information and belief, Defendants have knowledge of

Plaintiffs’ rights in Plaintiffs’ Trademarks, and are willfully infringing and intentionally using

counterfeits of one or more of Plaintiffs’ Trademarks. Defendants’ willful, intentional and

unauthorized use of Plaintiffs’ Trademarks is likely to cause and is causing confusion, mistake,

and deception as to the origin and quality of the Counterfeit Products among the general public.

       72.     Defendants’     activities   constitute   willful   trademark   infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       73.     Plaintiffs have no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the goodwill

of Plaintiffs’ Trademarks.

       74.     The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       75.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 74.

       76.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiffs or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiffs.




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       77.     By using Plaintiffs’ Trademarks on the Counterfeit Products, Defendants create a

false designation of origin and a misleading representation of fact as to the origin and

sponsorship of the Counterfeit Products.

       78.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       79.     Plaintiffs have no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the associated

goodwill of Plaintiffs’ respective brands.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       80.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 79.

       81.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Products as those of Plaintiffs, causing a likelihood of confusion

and/or misunderstanding as to the source of their goods, causing a likelihood of confusion and/or

misunderstanding as to an affiliation, connection, or association with genuine Plaintiffs’

Products, representing that their products have Plaintiffs’ approval when they do not, and

engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

       82.     The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.




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        83.      Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs to suffer damage to their reputations and associated goodwill. Unless enjoined by the

Court, Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful

activities.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

    confederates, and all persons acting for, with, by, through, under or in active concert with

    them be temporarily, preliminarily, and permanently enjoined and restrained from:

        a. using Plaintiffs’ Trademarks or any reproductions, counterfeit copies or colorable

              imitations thereof in any manner in connection with the distribution, marketing,

              advertising, offering for sale, or sale of any product that is not a genuine Plaintiffs’

              Product or is not authorized by Plaintiffs to be sold in connection with Plaintiffs’

              Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

              Plaintiffs’ Product or any other product produced by Plaintiffs, that is not Plaintiffs’

              or not produced under the authorization, control, or supervision of Plaintiffs and

              approved by Plaintiffs for sale under Plaintiffs’ Trademarks;

        c. committing any acts calculated to cause consumers to believe that Defendants’

              Counterfeit Products are those sold under the authorization, control or supervision of

              Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

        d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill; and

        e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

              moving, storing, distributing, returning, or otherwise disposing of, in any manner,
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           products or inventory not manufactured by or for Plaintiffs, nor authorized by

           Plaintiffs to be sold or offered for sale, and which bear any of Plaintiffs’ trademarks,

           including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies or

           colorable imitations thereof;

2) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiffs, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiffs’

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,       LLC        (“GoDaddy”),    Name.com,       PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Plaintiffs’

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;

3) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts,

   sponsored search engine or ad-word providers, credit cards, banks, merchant account

   providers, third party processors and other payment processing service providers, Internet

   search engines such as Google, Bing and Yahoo, and domain name registrars, including, but

   not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party

   Providers”) shall:



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       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using Plaintiffs’ Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using

           Plaintiffs’ Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

           on Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Plaintiffs all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of Plaintiffs’ Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Plaintiffs be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   Plaintiffs’ Trademarks;

6) That Plaintiffs be awarded their reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.




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Dated this 3rd day of December 2019.   Respectfully submitted,


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